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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Western Division

Secura Insurance Company
                                             Plaintiff,
v.                                                            Case No.: 3:22−cv−50343
                                                              Honorable Lisa A. Jensen
Great Plains Management, LLC, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 3, 2023:


        MINUTE entry before the Honorable Lisa A. Jensen: Pursuant to the parties'
stipulation of dismissal [71], this case is dismissed in its entirety with prejudice. Any
pending motions are now moot and all court dates are stricken. Civil case terminated.
Mailed notice. (vk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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